         Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 1 of 28




                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


RAVGEN, INC.,
                                          Civil Action No. 6:20-CV-00969-ADA
                         Plaintiff,
                                          JURY TRIAL DEMANDED
   vs.

LABORATORY CORPORATION OF
AMERICA HOLDINGS,

                         Defendant.



   DEFENDANT LABCORP’S RESPONSIVE CLAIM CONSTRUCTION BRIEF
         Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 2 of 28




                                               TABLE OF CONTENTS


I.     INTRODUCTION ...............................................................................................................1

II.    DISPUTED TERMS FOR ARGUMENT ...........................................................................1

       A.        “free fetal DNA isolated” / “isolating free fetal nucleic acid” / “isolating
                 free nucleic acid” (’277 Patent, Claims 55, 81; ’720 Patent, Claim 1) ....................1

                 1.         Expressly Claimed Language “Fetal” in the ’277 Patent Cannot Be
                            Ignored .........................................................................................................2

                 2.         The Specification Describes Isolating Only the Fetal DNA ........................5

                 3.         Labcorp’s Proposal is Consistent With the Plain and Ordinary
                            Meaning and the Specification.....................................................................9

       B.        “free . . . DNA” / “free . . . nucleic acid” (’277 Patent, Claims 55, 58, 81,
                 130; ’720 Patent, Claims 1, 21) .............................................................................11

       C.        “said sample” (’277 Patent, Claims 85, 88; ’720 Patent, Claims 5, 6) ..................12

                 1.         Claim Language .........................................................................................12

                 2.         “Said Sample” in Claim 88 of the ’277 Patent and Claim 6 of the
                            ’720 Patent is Non-Sensical .......................................................................13

                 3.         “Said Sample” in Claim 85 of the ’277 Patent and Claim 5 of the
                            ’720 Patent is Also Non-Sensical ..............................................................14

                 4.         Ravgen Ignores the Expressed Claim Language .......................................15

                 5.         Non-Sensical Claims Are Indefinite ..........................................................16

       D.        “method for preparing a sample for analysis comprising isolating free fetal
                 nucleic acid from the sample” (’277 Patent, Claim 81) .........................................17

III.   DISPUTED TERMS ADOPTING ARGUMENTS AND EVIDENCE FROM
       OTHER CASES .................................................................................................................19

IV.    CONCLUSION ..................................................................................................................20




                                                                   i
            Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 3 of 28




                                              TABLE OF AUTHORITIES

CASES                                                                                                                  PAGE(S)

Am. Permahedge, Inc. v. Barcana, Inc.,
      105 F.3d 1441 (Fed. Cir. 1997)............................................................................................3

Chef Am., Inc. v. Lamb-Weston, Inc.,
      358 F.3d 1371 (Fed. Cir. 2004)..........................................................................................19

Dow Chem. Co. v. Sumitomo Chem. Co.,
     257 F.3d 1364 (Fed. Cir. 2001)............................................................................................3

Eon Corp. IP Holdings v. Silver Spring Networks, Inc.,
      815 F.3d 1314 (Fed. Cir. 2016)............................................................................................2

Image Processing Techs., LLC v. Samsung Elec. Co.,
      Case No. 2:16-cv-505, 2017 WL 2672616 (E.D. Tex. June 21, 2017)........................16, 18

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc.,
       381 F.3d 1111 (Fed. Cir. 2004)............................................................................................5

Karlin Tech. Inc. v. Surgical Dynamics, Inc.,
       177 F.3d 968 (Fed. Cir. 1999)..............................................................................................5

Koki Holdings Co. v. Kyocera Senco Indus. Tools, Inc.,
       No. 18-313-CFC, 2021 WL 1092579 (D. Del. Mar. 22, 2021) ..................................17, 18

Nautilus, Inc. v. Biosig Instruments, Inc.,
       572 U.S. 898 (2014) ...........................................................................................................12

O2 Micro Int’l, Ltd. v. Beyond Innovation Tech. Co.,
      521 F.3d 1351 (Fed. Cir. 2008)............................................................................................2

Oatey Co. v. IPS Corp.,
       514 F.3d 1271 (Fed. Cir. 2008)............................................................................................8

Omni MedSci, Inc. v. Apple Inc.,
      No. 2:18-cv-00429-RWS, 2019 WL 3818762 (E.D. Tex. Aug. 14, 2019) .................17, 18

Ravgen, Inc. v. Natera, Inc.,
      No. 1:20-cv-00692-ADA (W.D. Tex.).....................................................................1, 19, 20

Ravgen, Inc. v. PerkinElmer, Inc.,
      No. 1:20-cv-00822-ADA (W.D. Tex.)...........................................................................1, 20

Renishaw PLC v. Societa’,
       158 F.3d 1243, 1248 (Fed. Cir. 1998)..................................................................................3



                                                                   ii
             Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 4 of 28




Samsung Elecs. Am., Inc. v. Prisua Eng’g Corp.,
      948 F.3d 1342 (Fed. Cir. 2020)..........................................................................................12

Schoenhaus v. Genesco, Inc.,
      440 F.3d 1354 (Fed. Cir. 2006)............................................................................................9

Seachange Int’l Inc. v. C-COR, Inc.,
      413 F.3d 1361 (Fed. Cir. 2005)............................................................................................5

Synopsys, Inc. v. Mentor Graphics Corp.,
       814 F.3d 1309 (Fed. Cir. 2016) overruled on other grounds by
      Aqua Prods., Inc. v. Matal, 872 F.3d 1290 (Fed. Cir. 2017) .............................................12

Trs. of Columbia Univ. in City of New York v. Symantec Corp.,
        811 F.3d 1359 (Fed. Cir. 2016)....................................................................................16, 18

Unique Concepts, Inc. v. Brown,
      939 F.2d 1558 (Fed. Cir. 1991)............................................................................................9

Zeta Glob. Corp. v. Maropost Marketing Cloud Inc.,
       No. 20 Civ. 3951(LGS), 2021 WL 2823563 (S.D.N.Y. July 7, 2021) ........................16, 18


STATUTES

35 U.S.C. § 311(b) .........................................................................................................................12




                                                                     iii
    Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 5 of 28




                             TABLE OF EXHIBITS

Exhibit No.                                      Description

    A         Declaration of Dr. Gary D. Fletcher, Ph.D. in Support of Defendant
              Labcorp’s Responsive Claim Construction Brief (“Fletcher Decl.”)

    B         Exhibit 1 to Fletcher Decl.

    C         05/30/07 Amendment in Response to Non-Final Office Action from the
              File History of U.S. Patent No. 7,332,277 (RAVGEN-00012992-3058)

    D         10/12/06 Office Action from the File History of U.S. Patent No. 7,332,277
              (RAVGEN-00012833-840)

    E         12/12/06 Amendment After Final Action Under 37 C.F.R. 1.116 from the
              File History of U.S. Patent No. 7,332,277 (RAVGEN-00012852-877)

    F         Isolate, Webster’s Third New International Dictionary, p. 1199 (2002)
              (LCRAV00009759- 761)

    G         Isolate, Oxford Dictionary of Biochemistry and Molecular Biology, p. 346
              (Revised ed. 2001) (LC-RAV00009756-758)

    H         Fraction, Oxford Dictionary of Biochemistry and Molecular Biology, p.
              244 (Revised ed. 2001) (LCRAV00009780-782)

     I        Alberts et al., Fractionation of Cells, Molecular Biology of the Cell (4th
              ed. 2002) (https://www.ncbi.nlm.nih.gov/books/NBK26936/) (LC-
              RAV00009783-793)




                                            iv
           Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 6 of 28




          Defendant Laboratory Corporation of America Holdings (“Labcorp”) respectfully submits

this Responsive Claim Construction Brief.

     I.   INTRODUCTION

          There are four claim terms presented for argument. Although proposing “plain and

ordinary meaning” for all of the terms, Plaintiff Ravgen, Inc. (“Ravgen”) completely ignores the

plain English reading of the claims. Instead, Ravgen (1) re-writes the claims in order to delete

expressed claim language to improperly broaden the claims; or (2) re-writes the claims in order to

save non-sensical claims. Accordingly, Ravgen’s proposals and arguments should be rejected.

    II.   DISPUTED TERMS FOR ARGUMENT

          There are eight terms in dispute. For four terms in dispute, the parties have agreed to

present briefing and argument. Labcorp’s arguments are set forth below. For the remaining four,

the parties agreed to forego briefing and rely on prior briefings and arguments from other cases1

as set forth in § III below.

          A.     “free fetal DNA isolated” / “isolating free fetal nucleic acid” / “isolating free
                 nucleic acid” (’277 Patent,2 Claims 55, 81; ’720 Patent,3 Claim 1)

                Ravgen’s Proposal                                Labcorp’s Proposal
    plain and ordinary meaning                       “separate out free fetal DNA from everything
                                                     else” / “separating out free fetal nucleic acid
                                                     from everything else” / “separating out free
                                                     nucleic acid from everything else”

          The Court construed these claim terms as “plain and ordinary meaning” in Natera (at Dkt.

88). However, under the disguise of “plain and ordinary meaning,” Ravgen improperly attempts

to read out the word “fetal” expressly claimed in the ’277 Patent. Ravgen argues that “the plain


1
  Ravgen, Inc. v. Natera, Inc., No. 1:20-cv-00692-ADA (W.D. Tex.) (“Natera”) and Ravgen, Inc.
v. PerkinElmer, Inc., No. 1:20-cv-00822-ADA (W.D. Tex.) (“PerkinElmer”).
2
  U.S. Patent No. 7,332,277.
3
  U.S. Patent No. 7,727,720.


                                                 1
         Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 7 of 28




meaning of isolating nucleic acids encompasses well-known, standard techniques in the art to

remove or reduce other components in a nucleic acid sample.” Dkt. 48 (Opening Brief (“Op. Br.”))

at 4. In doing so, Ravgen completely ignores the fundamental difference between the “isolating”

terms found in the ’277 Patent and the ’720 Patent. The ’277 Patent expressly limits the “isolating”

to “free fetal DNA” or “free fetal nucleic acid.” The ’720 Patent, on the other hand, does not claim

“fetal.” Instead, the ’720 Patent claims “isolating free nucleic acid.” Accordingly, the “isolating”

terms in both patents—one with “fetal,” the other not—cannot have the same meaning or the same

scope. But that is what Ravgen wants “plain and ordinary meaning” to be: re-writing the claim to

delete the word “fetal.”

       The reason for Ravgen’s improper insistence is simple: Ravgen wants all the “isolating”

terms, whether it has “fetal” or not, to include maternal DNA. But this is inconsistent with the

claim language and the specification (which describes, contrary to Ravgen’s argument, isolating

fetal DNA from everything else, including maternal DNA). Accordingly, Labcorp’s construction

should be adopted because it is consistent with the plain and ordinary meaning, the specification,

and the prosecution history.4

               1.      Expressly Claimed Language “Fetal” in the ’277 Patent Cannot Be
                       Ignored

       Claims 55 and 81 of the ’277 Patent state as follows:

       55. A method comprising determining the sequence of a locus of interest on free
       fetal DNA isolated from a sample obtained from a pregnant female, . . .

       81. A method for preparing a sample for analysis comprising isolating free fetal
       nucleic acid from a the sample, . . .


4
  Because there is a dispute between the parties as to the scope of the claims and what a plain and
ordinary meaning encompasses, this dispute should be resolved by the Court. See, e.g., O2 Micro
Int’l, Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“When the parties
present a fundamental dispute regarding the scope of a claim term, it is the court’s duty to resolve
it.”); Eon Corp. IP Holdings v. Silver Spring Networks, Inc., 815 F.3d 1314, 1318 (Fed. Cir. 2016).


                                                 2
         Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 8 of 28




Dkt. 48-2 (’277 Patent) at 472:66-473:5, 474:52-57 (emphasis added).

       Claim 1 of the ’720 Patent states as follows:

       1. A method for detecting a free nucleic acid, wherein said method comprises: (a)
       isolating free nucleic acid from a non-cellular fraction of a sample, . . .

Dkt. 48-4 (’720 Patent) at 535:15-21 (emphasis added).

       Because claim 1 of the ’720 Patent does not limit the “isolating” to any specific type of

free nucleic acid, the free nucleic acid being isolated can be fetal and/or maternal. There is no

dispute there. But claims 55 and 81 of the ’277 Patent are different: they expressly limit the

isolating to free “fetal” DNA or nucleic acid. “It is axiomatic that ‘[c]laims, not the specification

embodiments, define the scope of protection.’” Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d

1364, 1378 (Fed. Cir. 2001) (quoting Am. Permahedge, Inc. v. Barcana, Inc., 105 F.3d 1441, 1444

(Fed. Cir. 1997)); see also Renishaw PLC v. Societa’ per Azioni, 158 F.3d 1243, 1248 (Fed. Cir.

1998) (“[T]he claims define the scope of the right to exclude; the claim construction inquiry,

therefore, begins and ends in all cases with the actual words of the claim.”).

       Indeed, Ravgen chose to limit claims 55 and 81 of the ’277 Patent to isolating only the free

“fetal” DNA or nucleic acid. In a May 30, 2007 response to a rejection based on prior art, Ravgen

amended claim 58 (issued claim 55) by adding the word “isolated” to the term “free fetal DNA”

to read “free fetal DNA isolated,” thus changing the scope of the claim. Ex. C, 05/30/07

Amendment (’277 Patent File History) at RAVGEN-00013001. Similarly, Ravgen amended claim

87 (issued claim 81) by adding the word “fetal” to the term “free nucleic acid” to read “free fetal

nucleic acid,” similarly changing the scope of the claim. Id. at RAVGEN-00013005. Ravgen thus

explicitly narrowed the scope of the terms to recite only fetal nucleic acid or DNA and isolating

such fetal nucleic acid or DNA. Ravgen’s proposed construction would wholly ignore these claim

amendments, which it used to secure allowance.



                                                 3
         Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 9 of 28




       Even more troubling to Ravgen’s proposed construction is the fact that Ravgen told the

Patent Office the exact opposite thing it is telling this Court. During prosecution, Ravgen

described an earlier versions of claim 58 (reciting free fetal DNA) and claim 87 (at which point in

time only recited free nucleic acids) as having a different scope. More particularly, in an Interview

Summary, the Examiner described claims 58 and 87 by stating that “ Claims 58 [issued claim 55],

87 [issued claim 81] and 152 was [sic] directed towards the isolation and analyse [sic] free fetal

DNA [i.e. extracellular DNA derived from the fetus and present in a sample taken from a pregnant

females [sic] (e.g. blood)].” Ex. D, 10/12/06 Office Action (’277 File History) at RAVGEN-

00012835. In response to that description, Ravgen corrected the Patent Office and stated that the

term “free nucleic acid” in claim 87 encompassed both fetal and maternal DNA: “the nucleic acid

isolated in the method of claim 87 encompasses, but is not necessarily limited to, either fetal DNA

or nucleic acid present in a sample taken from a pregnant female.” Ex. E, 12/12/06 Amendment

(’277 File History) at RAVGEN-00012875. But Ravgen did not similarly characterize then

pending claim 58, which again recited “free fetal DNA,” in that way. See id. By not including

claim 58 in Ravgen’s “correction” of the Patent Office’s statement, Ravgen both admitted that the

Patent Office’s interpretation of then pending claim 58 was correct, and reinforced that the term’s

plain and ordinary meaning at the time referred only to fetal DNA. Simply put: Ravgen’s position

here is contradicted by what it told the Patent Office to secure allowance of the claims.

       Other claims of the Patents-in-Suit also support Labcorp’s position.           For example,

unasserted independent claims 1 and 116 of the ’277 Patent provide further evidence that the term

“fetal” should be given meaning. Claims 1 and 116 recite “template DNA,” which is expressly

claimed as including a “mixture of maternal DNA and fetal DNA.” Dkt. 48-2 (’277 Patent) at

469:13-15, 477:4-6 (emphasis added). Similarly, claim 1 of the ’720 Patent simply recites “nucleic




                                                 4
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 10 of 28




acid.” Dkt. 48-4 (’720 Patent) 535:15-21. Unlike claims 1 and 116 of the ’277 Patent and claim

1 of the ’720 Patent, claims 55 and 81 specifically recite “fetal” DNA or nucleic acids. If Ravgen

wanted claims 55 and 81 to have the same scope as these other claims, Ravgen could have chosen

not to expressly put such a limitation in the claims, just like it did for claims 1 and 116 of the ’277

Patent and claim 1 of the ’720 Patent.

       Therefore, the terms including “fetal” and not including “fetal” must have different

meaning. See, e.g., Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111,

1119 (Fed. Cir. 2004) (reversing the district court’s construction of the term “operatively

connected” because it largely “reads the term ‘operatively’ out of the phrase ‘operatively

connected’”); id. (“While not an absolute rule, all claim terms are presumed to have meaning in a

claim.”); Karlin Tech. Inc. v. Surgical Dynamics, Inc., 177 F.3d 968, 971-72 (Fed. Cir. 1999)

(“[T]he common sense notion that different words or phrases used in separate claims are presumed

to indicate that the claims have different meanings and scope.”); Seachange Int’l Inc. v. C-COR,

Inc., 413 F.3d 1361, 1369 (Fed. Cir. 2005) (“[T]here is still a presumption that two independent

claims have different scope when different words or phrases are used in those claims.”). Ravgen’s

position ignores the difference in scope between these terms and is an attempt to broaden the

isolating fetal claim terms in a blatant attempt to re-write the claims.

               2.      The Specification Describes Isolating Only the Fetal DNA

       Ravgen argues that Labcorp’s proposal should not be accepted because the specification

does not describe isolating only the free fetal nucleic acid, which does not include the free maternal

nucleic acid. See, e.g., Op. Br. at 6 (“None of these isolation techniques result in the isolation of

cell-free fetal nucleic acid from everything else, including cell-free maternal nucleic acids.”); id.

at 5 (“But these proposed constructions are incorrect because they import an additional limitation

into the plain language and because they would exclude every example provided in the


                                                  5
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 11 of 28




specification.”). But Ravgen ignores that the Patents-in-Suit describe at least two different

embodiments—one isolating “free nucleic acid,” and the other, isolating “free fetal nucleic acid”:

       In an embodiment, the present invention provides a method for isolating nucleic
       acid said method comprising (a) obtaining a sample containing nucleic acid; (b)
       adding a cell lysis inhibitor, cell membrane stabilizer, or cross-linker to the sample
       of (a); and (c) isolating nucleic acid. In an embodiment, the method is used for
       isolating free nucleic acid. In an embodiment, the method is used for isolating
       free fetal nucleic acid. In another embodiment, the present invention provides a
       method for isolating free fetal nucleic acid said method comprising (a) obtaining
       a sample containing nucleic acid; (b) adding a cell lysis inhibitor, cell membrane
       stabilizer, or cross-linker to the sample of (a); (c) isolating the plasma from the
       blood sample, wherein the plasma is isolated by centrifuging the blood sample; and
       (d) removing the supernatant, which contains the plasma, using procedures to
       minimize disruption of the “buffy-coat.”

Dkt. 48-1 (’277 Patent) at 15:22-38 (emphasis added); also compare id. at 26:35-39 (“In another

embodiment, the present invention is directed to a method for isolating free DNA . . .”) (emphasis

added) with id. at 26:40-44 (“In another embodiment, the present invention is directed to a method

for isolating free fetal DNA . . .”) (emphasis added); see also, e.g., Dkt. 48-3 (’720 Patent) at 11:9-

25.

       As shown above, the specification describes two different methods in two different

embodiments for (1) isolating “free nucleic acid” and (2) isolating “free fetal nucleic acid.”

Accordingly, like the claimed language in the ’277 and ’720 Patents, the specification also

provides that isolating “free nucleic acid” and isolating “free fetal nucleic acid” must be different.

The word “fetal” must have meaning.

       Indeed, the portions of specification upon which Ravgen relies are not inconsistent with

Labcorp’s proposal. Ravgen relies on ’277 Patent at 31:48-51 (Op. Br. at 4), but when read in full

context, this part of the specification goes to isolating both the fetal and maternal nucleic acid

together, which is not what is claimed in claims 55 and 81 of the ’277 Patent:

       In another embodiment, the template DNA contains both maternal DNA and fetal
       DNA. In a preferred embodiment, template DNA is obtained from blood of a


                                                  6
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 12 of 28




       pregnant female. . . .

       The blood sample is centrifuged to separate the plasma from the maternal cells. The
       plasma and maternal cell fractions are transferred to separate tubes and re-
       centrifuged. The plasma fraction contains cell-free fetal DNA and maternal DNA.
       Any standard DNA isolation technique can be used to isolate the fetal DNA and
       the maternal DNA including but not limited to QIAamp DNA Blood Midi Kit
       supplied by QIAGEN (Catalog number 51183).

Dkt. 48-1 (’277 Patent) at 31:32-51 (emphasis added); see also Dkt. 48-3 (’720 Patent) at 32:41-

60 (same). Ravgen also relies on part of Example 4 in the ’277 Patent at 89:17-34 (Op. Br. at 6).

Again, this portion of the specification goes to the embodiment of isolating just the DNA (e.g.,

both fetal and maternal), not the other embodiment of isolating only the fetal DNA. See Dkt. 48-

1 (’277 Patent) at 89:17-37 and Dkt. 48-3 (’720 Patent) at 89:40-57 (“Preparation of Template

DNA” in Example 4).

       Ravgen also claims that Labcorp’s proposed construction would exclude “every example”

of the specification. Op. Br. at 6. This is false. Ravgen ignores that the specification specifically

provides numerous embodiments and examples purporting to demonstrate complete isolation of

fetal DNA. For example, Example 15 describes techniques where 10 samples (out of a total of 69

samples) completely isolated fetal DNA. Table XXI presents data (excerpts below) from the

techniques of Example 15 that show 100% Fetal DNA isolated from samples:




                                                 7
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 13 of 28




Dkt. 48-2 (’277 Patent) at 224:15-226:15 (highlights added).

       Further, Ravgen’s reliance on Oatey Co. v. IPS Corp., 514 F.3d 1271 (Fed. Cir. 2008) (Op.

Br. at 5-6) is misplaced. Oatey involved construing a claim that excluded relevant embodiment as

set forth in the claim. Id. at 1276 (“the structure in Figure 3 [which was excluded by the district

court] is an embodiment of the invention as set forth in the specification and in claim 1.”). That is

not the case here. As discussed above, there are at least two different embodiments described in

the patents. The terms in the ’277 Patent with “fetal” go to the embodiment isolating only the




                                                 8
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 14 of 28




“fetal” DNA; the term in the ’720 Patent (and other claims in the ’277 Patent) without “fetal” go

to the embodiment isolating generic free DNA. Therefore, there is no improper exclusion of

relevant embodiments.

       Even if Ravgen were correct that Labcorp’s proposal excludes a relevant embodiment

(which it does not), the Federal Circuit made clear that an embodiment does not trump expressed

claim language. For example, in Schoenhaus v. Genesco, Inc., 440 F.3d 1354 (Fed. Cir. 2006),

the Federal Circuit rejected patentee’s argument that because the preferred embodiment describes

a “semi-rigid” material, the claim’s usage of the word “rigid” should be construed to mean “semi-

rigid.” The Federal Circuit found that the “patentee’s usage of the phrase ‘semi-rigid material’ in

the specification, when referring to the material to be used in the manufacture of the orthotic device

generally, is insufficient to disclaim the requirement in claim 1 that the material used to construct

the ‘heel seat’ be ‘rigid.’” Id. at 1358. The Federal Circuit also noted that “the specification

language cited by plaintiffs was insufficient to ‘clearly set forth a different definition’ from the

conventional usage of ‘rigid’ by ordinary practitioners in the field” and refused to depart from the

conventional definition of “rigid” for claim construction. Id.; see also id. at 1359 (“where a patent

specification includes a description lacking a feature, but the claim recites that feature, the

language of the claim controls.”) (citing Unique Concepts, Inc. v. Brown, 939 F.2d 1558, 1562

(Fed. Cir. 1991)) (emphasis added).

               3.      Labcorp’s Proposal is Consistent With the Plain and Ordinary
                       Meaning and the Specification

       Ravgen argues that Labcorp is rewriting the claim language by adding in a new

requirement. Op. Br. at 5. Not so. Because the parties do not agree as to what “isolate” means in

context of the proposed terms in the ’277 and ’720 Patents as discussed above, Labcorp’s proposal

(e.g., “separate out free fetal DNA from everything else”) is consistent with the plain and ordinary



                                                  9
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 15 of 28




meaning. The plain and ordinary meaning of “isolate” means “to set apart from others : cause to

be detached from others and alone.” Ex. F, Webster’s Third New International Dictionary, p. 1199

(2002) (LCRAV00009759-761). This meaning is consistent with how the term is used in

biochemistry and molecular biology context: “to separate (a pure substance, a cell type, or a sample

of a subcellular component) from a mixture or from naturally occurring material and then (usually)

to characterize it; to separate and put into pure culture (a particular species or strain of a

microorganism) from a mixture, sample, or biological specimen.” Ex. G, Oxford Dictionary of

Biochemistry and Molecular Biology, p. 346 (Revised ed. 2001) (LC-RAV00009756-758).

       And Labcorp’s proposed construction is consistent with how Ravgen used the term

“isolate” throughout the specification in a variety of contexts. For example, the specification

explains that nucleic acids can be “extracted, purified or isolated” for analysis—equating

purification and isolation, both of which just mean separating the thing of interest from everything

else. See, e.g., Dkt. 48-1 (’277 Patent) at 34:12-14; id. at 89:29-31 (disclosing kit for “isolating”

DNA as “for purification of DNA from blood cells”). Indeed, the specification consistently uses

the term “isolating” as meaning separating from everything else when it discloses that one can

isolate fetal DNA by isolating fetal cells from a variety of sources, including blood. Id. at 33:23-

52. As the specification explains, the fetal cells are separated from everything else, including

maternal cells, by using antibodies to “purify the fetal cells from the maternal serum.” Id. The

specification also describes separating certain types of DNA from other types of DNA. Id. at

82:36-39 (PCR products separated from genomic template DNA). It further describes isolating

nucleic acids from non-nucleic acid materials that may be in the original sample. Id. at 34:29-32.

       Thus, the patent specification consistently and regularly uses the term isolating to mean

separating the thing of interest from everything else. And it uses the same term consistently in a




                                                 10
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 16 of 28




variety of contexts, including isolating fetal cells from non-fetal cells, isolating types of DNA from

other types of DNA, and isolating nucleic acids from non-nucleic acid materials. Ravgen’s attempt

to remove any meaning from the terms “isolating” and “fetal,” and to broaden the claim term to

mean the same thing as claim terms not reciting fetal, invites error and is not a “plain and ordinary”

meaning.

        Finally, even if the Court decides not to adopt Labcorp’s proposal, at the very least, for the

reasons discussed above, the terms that contain the word “fetal” cannot mean the same thing as

the terms that do not contain the word “fetal.” Accordingly, for the terms “free fetal DNA isolated”

and “isolating free fetal nucleic acid” claimed in the ’277 Patent, it should be made clear that

virtually no maternal DNA or maternal nucleic acid is isolated with the fetal DNA or fetal nucleic

acid.

        B.      “free . . . DNA” / “free . . . nucleic acid” (’277 Patent, Claims 55, 58, 81, 130;
               ’720 Patent, Claims 1, 21)

               Ravgen’s Proposal                                  Labcorp’s Proposal
 plain and ordinary meaning                         “extracellular, i.e., outside the cell . . . DNA” /
                                                    “extracellular, i.e., outside the cell . . . nucleic
                                                    acid”

        It does not appear that Ravgen disputes that the plain and ordinary meaning of the term

“free,” used in context of DNA or nucleic acid, means “extracellular,” which in plain language

means “outside the cell.” In fact, Ravgen’s own expert, Dr. Brian Van Ness uses these terms

interchangeably in his declaration. Dkt. 48-7 (Van Ness Decl.) at ¶ 21 (“The vast majority of

human DNA in blood is contained within the cells; however, some DNA may be found circulating

outside of the cells in plasma and is considered extracellular, cell-free, or free.”) (emphasis

added). Further, Ravgen does not argue that Labcorp’s proposal is wrong in any way. See Op. Br.

at 2-3. Accordingly, Ravgen should confirm now whether it agrees that the plain and ordinary



                                                 11
          Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 17 of 28




meaning of the term “free” DNA or nucleotide means “extracellular, i.e., outside the cell.” If it

does not agree, it should provide why Ravgen disputes the meaning. If it agrees, Ravgen should

be prevented from arguing later that the term “free” DNA or nucleotide means something other

than “extracellular, i.e., outside the cell.”

         C.      “said sample” (’277 Patent, Claims 85, 88; ’720 Patent, Claims 5, 6)

                Ravgen’s Proposal                               Labcorp’s Proposal
    plain and ordinary meaning                     Indefinite

         “[A] patent is invalid for indefiniteness if its claims, read in light of the specification

delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those

skilled in the art about the scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 572

U.S. 898, 901 (2014). Here, “said sample” as used in claim 88 of the ’277 Patent and claim 6 of

the ’720 Patent requires “said [blood] is obtained from plasma from said blood,” which is

unreasonably circular and inherently unclear. Further, claim 85 of the ’277 Patent and claim 5 of

the ’720 Patent are non-sensical and impossible because the claims they depend on fail to identify

any appropriate source from which the claimed blood can be obtained. Thus, a person of ordinary

skill in the art (“POSITA”) cannot, with reasonable certainly, determine the scope of these claims.5

                 1.     Claim Language

         Claims 85 and 88 of the ’277 Patent ultimately depend back to claim 81 as follows:

         81. A method for preparing a sample for analysis comprising isolating free fetal
         nucleic acid from the sample, wherein said sample comprises an agent . . .

5
  Ravgen complains that Labcorp was able to apply a plain and ordinary meaning of this term in
the inter partes review proceedings. Op. Br. at 11. But “[i]nter partes review cannot replace the
district court in all instances, for example, when claims are challenged in district court as invalid
based . . . on grounds of indefiniteness.” Synopsys, Inc. v. Mentor Graphics Corp., 814 F.3d 1309,
1316 (Fed. Cir. 2016) overruled on other grounds by Aqua Prods., Inc. v. Matal, 872 F.3d 1290
(Fed. Cir. 2017). Nor did Labcorp have the option of challenging indefiniteness in the inter partes
review proceeding. See 35 U.S.C. § 311(b); see also Samsung Elecs. Am., Inc. v. Prisua Eng’g
Corp., 948 F.3d 1342 (Fed. Cir. 2020).


                                                 12
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 18 of 28




       84. The method of claim 81, wherein the sample is obtained from a source selected
       from the group consisting of blood, serum, plasma, saliva, urine, tear, vaginal
       secretion, lymph fluid, cerebrospinal fluid, mucosa secretion, peritoneal fluid,
       ascitic fluid, fecal matter, and body exudates.

       85. The method of claim 84, wherein said sample is blood.

       86. The method of claim 85, wherein said blood is from a pregnant female.

       87. The method of claim 86, wherein said blood is obtained from a human pregnant
       female when the fetus is at a gestational age selected from the group consisting of:
       0-4, 4-8, 8-12, 12-16, 16-20, 20-24, 24-28, 28-32, 32-36, 36-40, 40-44, 44-48, 48-
       52, and more than 52 weeks.

       88. The method of claim 87, wherein said sample is obtained from plasma from
       said blood.

Dkt. 48-2 (’277 Patent) at 474:52-475:12 (emphasis added).

       Similar language is found in claims 5 and 6 of the ’720 Patent, which ultimately depend

back to claim 1:

       1. A method for detecting a free nucleic acid, wherein said method comprises: (a)
       isolating free nucleic acid from a non-cellular fraction of a sample, wherein said
       sample comprises an agent . . .

       4. The method of claim 1, wherein the sample is obtained from a source selected
       from the group consisting of: tissue, blood, serum, plasma, saliva, urine, tear,
       vaginal secretion, umbilical cord blood, chorionic villi, amniotic fluid, embryonic
       tissue, lymph fluid, cerebrospinal fluid, mucosa secretion, peritoneal fluid, ascitic
       fluid, fecal matter, and body exudates.

       5. The method of claim 4, wherein said sample is blood.

       6. The method of claim 5, wherein said sample is obtained from plasma from said
       blood.

Dkt. 48-4 (’720 Patent) at 535:15-39 (emphasis added).

              2.      “Said Sample” in Claim 88 of the ’277 Patent and Claim 6 of the ’720
                      Patent is Non-Sensical

       Claim 85 of the ’277 Patent states that “said sample is blood.” Dkt. 42-8 (’277 Patent) at

475:3 (emphasis added). Claims 86 and 87, which depend on claim 85, then identifies where that


                                                13
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 19 of 28




blood is from. But claim 88 refers to the “sample” again, but this time, it claims that the “sample

is obtained from plasma” from the blood that was referred to in previous claims. And, claim 88

depends back to claim 85, which had already defined the “sample” as “blood.” So, claim 88,

replacing “sample” to “blood,” reads as follows: said [blood] is obtained from plasma from said

blood. This is nonsensical and impossible. Ex. A, Fletcher Decl. at ¶¶ 25-26. Blood cannot be

obtained from plasma, because plasma is a component of blood. Indeed, the rest of the claim states

that plasma is obtained from blood, making the whole claim unreasonably circular and inherently

unclear. Id.

       Claim 6 of the ’720 Patent has the exact same problem as claim 88 of the ’277 Patent.

Claim 6 depends on claim 5, which defines “said sample” as “blood.” Therefore, replacing “said

sample” with “blood,” claim 6 reads as follows: said [blood] is obtained from plasma from said

blood. This, like claim 88 of the ’277 Patent, is non-sensical, impossible, unreasonably circular,

and inherently unclear. Id. at ¶¶ 27-28.

               3.      “Said Sample” in Claim 85 of the ’277 Patent and Claim 5 of the ’720
                       Patent is Also Non-Sensical

       The “said sample” claimed in claim 85 of the ’277 Patent and claim 5 of the ’720 Patent is

also non-sensical for a different reason. Claim 85 depends on claim 84, which expressly lists

sources from which “the sample” can be obtained. Dkt. 48-2 (’277 Patent) at 474:65-475:2. But

claim 85 states that “said sample is blood.” Id. at 475:3. And blood cannot be obtained from any

of the sources listed in claim 84, which claim 85 depends on.

       First, it does not make sense to obtain blood from blood (which is one of the listed sources).

Ex. A, Fletcher Decl. at ¶ 31. This is unreasonably circular and does not make any sense. Id.

Second, blood cannot be obtained from the rest of the listed sources: “serum, plasma, saliva, urine,

tear, vaginal secretion, lymph fluid, cerebrospinal fluid, mucosa secretion, peritoneal fluid, ascitic



                                                 14
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 20 of 28




fluid, fecal matter, and body exudates.” Id. For example, serum and plasma are components of

blood, so it cannot be a source from which blood can be obtained. Id. And blood cannot be

obtained from other specific fluids (e.g., urine) and matters (e.g., fecal matter) identified. Id.

Accordingly, because “said sample” as claimed in claim 85 is “blood,” and blood cannot be

obtained from any of the sources listed in claim 84, which claim 85 depends on, claim 85 is

nonsensical and impossible. Id. at ¶ 32.

       Claim 5 of the ’720 Patent has the identical language to claim 85 of the ’277 Patent. Claim

5 depends on claim 4, which identifies a list of sources from which the sample is obtained. Dkt.

48-4 (’720 Patent) at 535:30-36. The source listed in claim 4 is the same as claim 84 of the ’277

Patent, except it also adds “umbilical cord blood, chorionic villi, amniotic fluid, [and] embryonic

tissue.” Similar to the other liquids and matters listed, none of these can be a source of blood. Ex.

A, Fletcher Decl. at ¶ 33. For example, umbilical cord blood is blood from umbilical cord, and as

discussed above, it does not make sense that blood is obtained from blood. Id. Also, blood cannot

be obtained from chorionic villi, amniotic fluid, or embryonic tissue. Id. Accordingly, like claim

85 of the ’277 Patent, because “said sample” as claimed in claim 5 is “blood,” and blood cannot

be obtained from any of the sources listed in claim 4, which claim 5 depends on, claim 5 is

nonsensical and impossible. Id. at ¶ 34.

               4.      Ravgen Ignores the Expressed Claim Language

       In arguing that a POSITA would understand that the sample in question is obtained from

plasma portion of the blood, Ravgen completely ignores the expressed claim language. Op. Br. at

12-14. There is no dispute that plasma is a component of blood. Op. Br. at 12 (“plasma, the liquid

portion of unclotted blood in which cells may be suspended.”); Ex. A, Fletcher Decl. at ¶ 26. But

Ravgen goes one step further, arguing that plasma is blood. See, e.g., id. at 13 (“Labcorp’s theory

appears to be based on the incorrect notion that plasma is not blood.”). This is akin to agreeing


                                                 15
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 21 of 28




that one component of ranch dressing is buttermilk, but unreasonably going one step further to say

that, therefore, buttermilk is ranch dressing. Plasma is a component of blood; it is not blood. Ex.

A, Fletcher Decl. at ¶ 26.

       Even if Ravgen is correct that plasma is blood (it is not), “said sample” as used in the claims

in question still would not make sense. Claim 88 of the ’277 Patent and claim 6 of the ’720 Patent

would now read: said [plasma] is obtained from plasma from said blood. Actually, this would

be even worse: it is more non-sensical and more unreasonably circular. If Ravgen wanted to claim

that a sample is plasma, then Ravgen could have easily written a claim to state that “said sample

is plasma.” Ravgen did not do so, and it cannot now expect the public to re-write and understand

its non-sensical, poorly written claims.

               5.      Non-Sensical Claims Are Indefinite

       Non-sensical claims are indefinite. See, e.g., Trs. of Columbia Univ. in City of New York

v. Symantec Corp., 811 F.3d 1359, 1367 (Fed. Cir. 2016) (“the claims describe the step of

extracting machine code instructions from something that does not have machine code instructions

. . . [and thus] [t]he claims are nonsensical in the way a claim of extracting orange juice from

apples would be, and are thus indefinite.”); Zeta Glob. Corp. v. Maropost Marketing Cloud Inc.,

No. 20 Civ. 3951(LGS), 2021 WL 2823563, at *5 (S.D.N.Y. July 7, 2021) (“When properly read

as incorporating Claim 1, Claim 6 thus claims a failure message (1) received by the sender when

the ISP is unable to deliver an email to the recipient (2) and is created only after the email is

delivered to the recipient. This combined claim language is contradictory and nonsensical, and no

POSITA reading the ’439 Patent would understand the term ‘failure message’ as limited by when

it is received – that is, simultaneously after delivery and upon non-delivery.”) (emphasis in

original); Image Processing Techs., LLC v. Samsung Elec. Co., Case No. 2:16-cv-505, 2017 WL

2672616, at *15-16 (E.D. Tex. June 21, 2017) (finding that “a classification unit coupled to the


                                                 16
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 22 of 28




input portion and the histogram unit, and configured to determine the data in the history that satisfy

a selected criterion” to be indefinite because it was non-sensical as written since the classification

unit cannot evaluate data in the histogram because another limitation requires the calculation

results of this claim to create the histogram); Omni MedSci, Inc. v. Apple Inc., No. 2:18-cv-00429-

RWS, 2019 WL 3818762, at *13 (E.D. Tex. Aug. 14, 2019) (finding “wherein the modulation

frequency has a phase” to be indefinite because the claims as written were nonsensical because a

modulation frequency cannot have a phase); Koki Holdings Co. v. Kyocera Senco Indus. Tools,

Inc., No. 18-313-CFC, 2021 WL 1092579, at *1-2 (D. Del. Mar. 22, 2021) (finding indefiniteness

for a claim that required “a trigger valve exterior frame to which the main valve control channel is

fluidly connected,” which is physically impossible because the “trigger valve exterior frame is

indisputably a solid” and a solid cannot be a fluid).

        Just like these cases, “said sample” as used in claims 85 and 88 of the ’277 Patent and

claims 5 and 6 of the ’720 Patent, is non-sensical, inherently unclear, impossible, and fails to

inform a POSITA, with reasonable certainly, the scope of these claims. Accordingly, these claims

are indefinite.

        D.        “method for preparing a sample for analysis comprising isolating free fetal
                  nucleic acid from the sample” (’277 Patent, Claim 81)

                  Ravgen’s Proposal                              Labcorp’s Proposal
 plain and ordinary meaning                         Indefinite

        Claim 81 of the ’277 Patent states:

        81. A method for preparing a sample for analysis comprising isolating free fetal
        nucleic acid from the sample, wherein said sample comprises an agent . . .

Dkt. 48-2 (’277 Patent) at 474:52-54 (emphasis added). It is clear from the plain language of the

claim that claim 81 is directed to a “method for preparing a sample for analysis,” i.e., the sample

as identified here is the thing that is going to be analyzed. Next, the preparation method comprises


                                                 17
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 23 of 28




of “isolating free fetal nucleic acid from the sample,” i.e., the free fetal nucleic acid is isolated

from the sample that is going to be analyzed. In other words, the sample that is to be analyzed

should no longer have free fetal nucleic acid, as the fetal nucleic acid is isolated from it. Ex. A,

Fletcher Decl. at ¶ 36.

       But this plain English reading of the claim does not make any sense to a POSITA in light

of the specification. Id. at ¶¶ 35-41. The Field of the Invention of the ’277 Patent states that:

“The present invention provides a rapid non-invasive method for determining the sequence of

DNA from a fetus.” Dkt. 48-1 (’277 Patent) at 1:33-35. Thus, a POSITA would understand the

purpose of the isolation of fetal DNA is so that the fetal DNA can be analyzed. Indeed, Ravgen

admits that “the portion of the sample that is to be analyzed is the free nucleic acid.” Op. Br. at 9.

But the express language of claim 81 does the opposite: it separates out the fetal nucleic acid from

the sample that is to be analyzed. Ex. A, Fletcher Decl. at ¶¶ 35-41. This is non-sensical; therefore,

indefinite. Id.; see § II.C.5 above (citing Trs. of Columbia Univ., 811 F.3d at 1367; Zeta Global

Corp., 2021 WL 2823563 at *5; Image Processing Techs., 2017 WL 2672616 at *15-16; Omni

MedSci, Inc., 2019 WL 3818762 at *13; Koki Holdings Co., 2021 WL 1092579 at *1-2).

       Ravgen’s “plain and ordinary meaning” of claim 81 completely ignores the expressed

language of the claim. Ravgen argues that “[i]n context of preparing samples containing nucleic

acids, that preparation often involves separating or removing certain components of the sample so

that the components of interest (e.g., the nucleic acids) can be analyzed more easily.” Op. Br. at

9 (emphasis added). But in claim 81, the “component of interest” (i.e., “free fetal nucleic acid”)

is separated out from the sample to be analyzed, rather than containing the component of interest.

Ex. A, Fletcher Decl. at ¶¶ 35-41.

       In order to save this non-sensical claim, Ravgen introduces a new concept not expressed in




                                                 18
        Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 24 of 28




the claim—“the original sample”—by arguing that “a POSITA would prepare the original sample

for analysis by isolating some components of the sample.” Op. Br. at 9; see also id. at 9-10 (“In

[Example 15 of the ’277 Patent], the blood example is being prepared for analysis by isolating the

DNA component of that blood sample.”). In other words, Ravgen is describing having two

different samples: (1) the “original sample” (i.e., blood), which is the starting point; and (2) the

“resulting sample” (i.e., free DNA component) that is to be analyzed. See Ex. A, Fletcher Decl. at

¶¶ 38-40. But this is not what the claim says and is inconsistent with the plain and ordinary

meaning of the claim.6 Indeed, to support the “plain and ordinary” meaning, Ravgen must rewrite

the claim as:

       method for preparing a resulting sample for analysis comprising isolating free fetal
       nucleic acid from the an original sample

This is improper. See, e.g., Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir.

2004) (“This court, however, repeatedly and consistently has recognized that courts may not

redraft claims, whether to make them operable or to sustain their validity.”).

       Even if the Court does not find claim 81 of the ’277 Patent indefinite, at the very least,

Labcorp respectfully submits that the “plain and ordinary” meaning of the term “method for

preparing a sample for analysis comprising isolating free fetal nucleic acid from the sample”

cannot include preparing a sample for analysis where that sample contains free fetal nucleic acid.

This is because the plain and ordinary reading the term requires isolating or separating out the free

fetal nucleic acid from the sample to be analyzed.

III.   DISPUTED TERMS ADOPTING ARGUMENTS AND EVIDENCE FROM OTHER
       CASES

       The Court has already construed the following terms in Natera at Dkt. 88 (see also Dkt.


6
  Contrary to Ravgen’s argument, Labcorp is not arguing that the “method for preparing a sample
for analysis” requires “a performance of analysis of any sample.” Op. Br. at 10.


                                                 19
          Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 25 of 28




93) and PerkinElmer at Dkt. 78. The parties agreed to forego briefing on these terms and rely on

prior briefings and arguments from Natera and/or PerkinElmer. Labcorp’s proposal is set forth

below:7

       1.      “determining the sequence of a locus of interest” (’277 Patent, Claim 55):
               “determining the identity of one nucleotide or of contiguous nucleotides or
               nucleosides of a selected region of nucleic acid.” See, e.g., PerkinElmer at Dkts.
               50, 55, 62, and February 9, 2021 Markman hearing.

       2.      “agent that [inhibits cell lysis to inhibit the lysis of cells/inhibits lysis of
               cells/impedes cell lysis] . . . wherein said agent is selected from the group consisting
               of membrane stabilizer, cross-linker, and cell lysis inhibitor” / “said sample
               comprises an agent that [impedes cell lysis/inhibits lysis of cells], if cells are
               present, and wherein said agent is selected from the group consisting of membrane
               stabilizer, cross-linker, and cell lysis inhibitor” (’277 Patent, Claims 55, 81; ’720
               Patent, Claim 1): indefinite. See, e.g., PerkinElmer at Dkts. 50, 55, 62 and February
               9, 2021 Markman hearing; Natera at Dkts. 49, 57, 62, 63 and February 9, 2021
               Markman hearing.

       3.      “formalin” (’277 Patent, Claims 60, 90-93, 132, 133): “a stock solution of
               formaldehyde, usually 37% weight to volume.” See, e.g., PerkinElmer at Dkts. 50,
               55, 62, and February 9, 2021 Markman hearing.

       4.      “non-cellular fraction” (’720 Patent, Claim 1): “a separated portion substantially
               free of intact cells.” See, e.g., PerkinElmer at Dkts. 50, 55, 62 and February 9, 2021
               Markman hearing.8

IV.    CONCLUSION

       For the foregoing reasons, Labcorp respectfully submits that its proposed constructions be

adopted.



7
  Labcorp reserves the right to challenge and/or appeal the Court’s prior constructions in Natera
and PerkinElmer Cases, to the extent adopted in this case, of all disputed terms between the parties
in this action.
8
  Labcorp additionally relies on the following extrinsic evidence, which support this point: (1)
Fraction, Oxford Dictionary of Biochemistry and Molecular Biology, p. 244 (Revised ed. 2001)
(“any one of several portions of a mixture that can be separated by a fractional process, e.g. by
fractional distillation or chromatography, and consisting either of a mixture or of a pure
compound”) (LCRAV00009780-782) (Ex. H); and Alberts et al., Fractionation of Cells,
Molecular Biology of the Cell (4th ed. 2002) (https://www.ncbi.nlm.nih.gov/books/NBK26936/)
(LC-RAV00009783-793) (Ex. I).


                                                 20
     Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 26 of 28




Dated: August 11, 2021              Respectfully submitted,

                                By: /s/ Aden M. Allen
                                    Aden M. Allen
                                    Texas Bar No. 24064808
                                    WILSON SONSINI GOODRICH & ROSATI
                                    Professional Corporation
                                    900 South Capital of Texas Highway
                                    Las Cimas IV, Fifth Floor
                                    Austin, Texas 78746-5546
                                    Telephone: 512-338-5400
                                    Facsimile: 512-338-5499
                                    aallen@wsgr.com

                                    Edward G. Poplawski
                                    Admitted pro hac vice
                                    Olivia M. Kim
                                    Admitted pro hac vice
                                    Erik J. Carlson
                                    Admitted pro hac vice
                                    WILSON SONSINI GOODRICH & ROSATI
                                    Professional Corporation
                                    633 West Fifth Street, Suite 1550
                                    Los Angeles, CA 90071
                                    Telephone: (323) 210-2900
                                    Facsimile: (866) 974-7329
                                    epoplawski@wsgr.com
                                    okim@wsgr.com
                                    ecarlson@wsgr.com

                                    Matias Ferrario
                                    Admitted pro hac vice
                                    KILPATRICK TOWNSEND & STOCKTON LLP
                                    1001 West Fourth Street
                                    Winston-Salem, NC 27101-2400
                                    Telephone: (336) 607-7300
                                    Facsimile: (336) 734-2651
                                    mferrario@kilpatricktownsend.com

                                    Peter J. Chassman (SBN 00787233)
                                    Admitted pro hac vice
                                    Hallie H. Wimberly (SBN 24106587)
                                    Admitted pro hac vice
                                    REED SMITH LLP
                                    811 Main Street, Suite 1700
                                    Houston, TX 77002


                                   21
Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 27 of 28




                               Telephone: (713) 469-3800
                               Facsimile: (713) 469-3899
                               pchassman@reedsmith.com
                               hwimberly@reedsmith.com

                               Attorneys for Defendant Laboratory
                               Corporation of America Holdings




                              22
       Case 6:20-cv-00969-ADA Document 50 Filed 08/11/21 Page 28 of 28




                              CERTIFICATE OF SERVICE

       I hereby certify that, on August 11, 2021 all counsel of record who are deemed to have

consented to electronic service are being served with a copy of the foregoing document via the

Court’s CM/ECF system.


                                                   /s/ Aden M. Allen
                                                   Aden M. Allen
